                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,

       Plaintiff,


       v.                                                          Case No. 25-CR-0089-LA


HANNAH C. DUGAN,

       Defendant.


                         DEFENDANT’S OBJECTIONS
                TO MAGISTRATE JUDGE’S RECOMMENDATION ON
                           MOTION TO DISMISS



                                                I.

                                        INTRODUCTION


       Today the Court confronts a case in which a state judge faces federal prosecution for

official acts in the course of her ordinary judicial duties, and nothing more. The magistrate

judge agrees that every act this indictment names is “part of a judge’s job.” Report &

Recommendation at 30 (July 7, 2025) (Dkt. 43). The indictment alleges no graft, no quid pro

quo, no unofficial acts at all. It does not allege violation of any person’s civil rights that the

Thirteenth, Fourteenth, or Fifteenth Amendments protect. This is a federal criminal

prosecution of a state judge for doing her job; not in the way that some federal agents

preferred, true, but her job all the same. Yet the magistrate judge would allow it to proceed.




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           Why? Under the magistrate judge’s proposed rule, every official act of state judges

potentially is fair game for federal prosecution:

           Again, the distinction that takes these official duty cases out of the shield of
           immunity is not self-enrichment or the motive of the judge. It is whether the
           criminal law has been violated. In other words, a judge’s actions, even when
           done in her official capacity, do[ ] not bar criminal prosecution if the actions
           were done in violation of the criminal law.

Report & Recommendation at 28 (July 7, 2025) (Dkt. 43); see also id. at 23, 29 (to same effect).

           That recommendation offers no limiting principle and clashes with first principles

and decisions as recent as Trump v. United States, 603 U.S. 593 (2024). It posits a rule that

would have been anathema to the Framers. They yielded sovereignty only to a federal

government with strictly limited powers. The idea that the federal government someday

could arrest and prosecute state judges for official acts in derogation of long-settled English

immunity would have been wrong to them.

           It still is. If this Court adopted the recommendation, state and federal judges would

be vulnerable to prosecution by the federal executive any time they handle a trial involving

contraband in evidence or schedule a hearing in ways that inconvenience—and thus

arguably impede—federal officers. A judge handling a child pornography case or a drug

case, with either child pornography images or controlled substances passed around as

evidence in court (that is, possessed and distributed), would be at the mercy of federal law

enforcement. So would any state or federal judge scheduling a hearing or holding over an

undocumented accused, victim, or material witness in ways that irritate or slow federal

officers hoping to arrest or remove the undocumented person with a crucial role in the case.1



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    Some of these examples seem farfetched. So did this prosecution until it happened.


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       But the magistrate judge errs. In fact from the start, American law has prevented

such prosecutions on principled grounds. Immunity is not restricted to the civil sphere; it

protects against criminal liability for most official acts. Indeed, it began in the criminal

sphere and extended to the civil from there.

       For purposes here, the central lessons of Trump v. United States, 603 U.S. 593 (2024),

are that as to federal criminal prosecutions, official acts are immune, it is not sufficient to

rely on the discretion of federal prosecutors, and immunity must be resolved before trial.

Note at the outset that the Report & Recommendation echoes the mistake that the district

court made in Trump. That district court acknowledged civil immunity from damages for

presidents. But it denied the motion to dismiss, writing, “’former Presidents do not possess

absolute federal criminal immunity for any acts committed while in office.’” Trump, 603 U.S.

at 604 (quoting district court opinion).

       That is not just a superficial parallel to this case. The linkage between judicial

immunity and the presidential immunity that Trump settled is deeper than that. As Judge

Dugan traced in her earlier briefs, Trump rests in significant part on judicial immunity cases

for official acts. Presidents and former presidents now have what judges had first.

       Now, it is not as clear that judicial immunity is or must be coextensive with the

possible limits of presidential immunity, which Trump left fuzzy at the edges. Judicial

immunity does not and need not extend beyond official acts. Unofficial acts, including those

involving graft or coercive sexual gratification for which collateral judicial acts are the

inducement or the threat, get no criminal judicial immunity. Official acts that deny

individual constitutional rights under the Reconstruction Amendments do not, either.




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       Other official acts—that is, not involving graft or sexual gratification, and not

denying constitutional rights—clearly do enjoy judicial immunity from prosecution. As to

ordinary criminal laws, the Founders’ vision remains intact: federal prosecutors cannot

target a judge’s official actions in and around the courtroom. That immunity leaves plenty

of scope for prosecuting corrupt judges.

       The Court can avoid definitively resolving these constitutional questions by

recognizing that the statutes at issue here do not reach the conduct alleged. There are

countless ways to obstruct justice or harbor a fugitive that do not involve the exercise of

state judicial power. There is no reason to think that the Congress that enacted these statutes

thought it was empowering federal agents to arrest and prosecute state judges for official

acts. And there is no reason to extend these statutes to circumstances that threaten to upend

the federal-state balance and chill state judges in the discharge of their official duties.

Whether by recognizing the breadth of immunity or the limits of the statutes at issue, this

Court should dismiss the indictment.


                                              II.

                                         OBJECTIONS


       Again, the magistrate judge agrees that each of the five specific acts this indictment

alleges (in Count 2, because Count 1 claims only that Judge Dugan “concealed” E.F.R.) “all

are part of a judge’s job.” Report & Recommendation at 30. They were, in other words,

official acts and the magistrate judge does not contend otherwise.




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        Picking up there, Judge Dugan relies on her previous motion and two briefs. She also

agrees with the amicus brief of 138 former state and federal judges (Dkt. 22-1).

             A. Judicial Immunity from Criminal Prosecution for Official Acts.

                 State supreme courts and our highest federal court repeatedly and

consistently have recognized judicial immunity from prosecution for more than 200 years,

even if the magistrate judge remains unconvinced that the Supreme Court ever has

recognized criminal judicial immunity in any setting. The recognition of immunity from

prosecution for official judicial acts has flowed from Lord Coke’s foundational decision in

Floyd v. Barker, 12 Co. Rep. 23, 24-25, 77 Eng. Rep. 1305, 1307 (Star Chamber 1607).2 See

Defendant’s Memorandum at 5-11 (Dkt. 21). The Report & Recommendation does accept

that this first clear statement of judicial immunity doctrine applied to criminal prosecutions

for official acts. That was the explicit issue in Floyd. See Report & Recommendation at 4-5.

                 Lord Coke’s decision in Floyd articulated the rule that came to America and

that the Framers—and early American courts and prosecutors steeped in English

common law—surely understood. From the first years of the nineteenth-century, state

cases explicitly recognized criminal immunity for judges. See Yates v. Lansing, 5 Johns.

282, 290–94, 1810 WL 1044 (N.Y. Sup. Ct. 1810) (Chancellor Kent relying on Floyd), aff'd,

1811 WL 1445 (N.Y. 1811);3 and Hamilton v. Williams, 26 Ala. 527, 533, 1855 WL 345 (Ala.


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  Precursors to judicial immunity may date back to the mid-fourteenth century. See Jay Feinman & Roy S.
Cohen, Suing Judges: History and Theory, 31 S.C. L. REV. 201, 206 (1980).

3 Although some have forgotten him, Chancellor James Kent was for ten years the highest-ranking judge in

New York, the first professor of law at Columbia University, and the author of Kent’s COMMENTARIES ON
AMERICAN LAW. That was in its sixth edition when he died in 1847. The Supreme Court cited Kent’s
COMMENTARIES as recently as last year. Sheetz v. County of El Dorado, California, 601 U.S. 267, 277–78 (2024). See
also history.nycourts.gov/figure/james-kent/; www.britannica.com/biography/James-Kent. The magistrate
judge devalues the importance Yates in shaping American law. Chancellor Kent and Justice Joseph Story (1779–


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1855). An 1871 U.S. Supreme Court decision then relied expressly on Floyd and Yates in

extending the established criminal immunity of judges to civil cases. Bradley v. Fisher, 80

U.S. (13 Wall.) 335, 347 nn.12 & 13, 347–48 (1871). A quarter century later, the Supreme

Court recognized in Spalding v. Vilas, 161 U.S. 483, 494 (1896), that judicial criminal

immunity is part of the nation’s law: “The doctrine which holds a judge exempt from a

civil suit or indictment for any act done or omitted to be done by him, sitting as judge, has

a deep root in the common law.” Spalding, 161 U.S. at 494, quoting Yates (italics added).

              Twentieth-century cases again explicitly acknowledged judicial immunity

from criminal prosecution for official acts not involving constitutional rights under the

Reconstruction Amendments. See Commonwealth v. Tartar, 239 S.W.2d 265, 266 (Ct. App.

Ky. 1951) (sustaining demurrer to indictment of judge for acts in official capacity),

quoting 48 C.J.S., Judges, § 71; and United States v. Chaplin, 54 F. Supp. 926 (S.D. Cal. 1944).

Even a twenty-first-century decision acknowledges judicial immunity for official acts not

violating individual constitutional rights. Rockett v. Eighmy, 71 F.4th 665, 668–69 (8th Cir.

2023) (civil case recognizing that, “Judicial immunity continues to apply today, not only

in prosecutions like Floyd, but in civil-rights actions brought under 42 U.S.C. § 1983”).

              Importantly, Pulliam v. Allen, 466 U.S. 522 (1984), continues to shape

immunity analysis around the common law. First, courts should refer to the common

law. And second, they should assess whether Congress has abrogated a common law




1845; author of COMMENTARIES ON THE CONSTITUTION OF THE UNITED STATES (1833)) were the only two
preeminent antebellum American judges who also have been remembered as important commentators on
United States law. For that matter, Lord Coke’s importance needs no further comment.


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immunity. Pulliam, 466 U.S. at 529. Pulliam itself relied extensively on Floyd, see id. at 530–

32, making clear that Floyd anchors common law on this topic and remains vital.

                  In deciding whether Congress abrogated the immunity of state actors—or

whenever the federal-state balance is altered—courts must demand clear statements from

Congress and recognize that “the Fourteenth Amendment does not override all principles

of federalism.” Gregory v. Ashcroft, 501 U.S. 452, 469 (1991) (rejecting extension of ADEA

to high state officials, even though that act generally was within Congress’s power under

the Commerce Clause); see also City of Boerne v. Flores, 521 U.S. 507, 519 (1997) (Section 5

of the Fourteenth Amendment is a positive grant of power, but Congress’s realm under

that enforcement clause “extends only to ‘enforc[ing]’ the provisions of the Fourteenth

Amendment;” citing South Carolina v. Katzenbach, 383 U.S. 301, 326 (1966)).

                  So it is not clear that Congress has the power to abrogate the immunity of

state officials at all except when exercising its distinct powers under the Reconstruction

Amendments. At a bare minimum, Congress would need to indicate an intent to abrogate

with clarity. Congress did not here.4


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   Judge Dugan knows of no evidence that Congress ever has sought to abrogate judicial immunity from
prosecution for official acts of state officers, even assuming that Congress could. If Congress already had the
power to punish the acts of state officers, including judges, for official acts under color of state law, the three
enforcement clauses in the Thirteenth, Fourteenth, and Fifteenth Amendments would be sheer surplusage.
Constitutional text cannot be read that way. Here, a court would have to read not just one constitutional clause
as surplusage, but three: the separate enforcement clauses in all three Reconstruction Amendments.

  In fact, as Gregory v. Ashcroft, City of Boerne, and Katzenbach all suggest implicitly, before the Reconstruction
Amendments the Tenth Amendment foreclosed congressional power to enact federal crimes punishing state
officers for official acts. See also Ex Parte Virginia, 100 U.S. 339, 346 (1880) (“Nor does it make any difference that
such legislation [the 1876 Act criminally punishing the exclusion of otherwise qualified Black jurors] is
restrictive of what the State might have done before the constitutional amendment was adopted. The
prohibitions of the Fourteenth Amendment are directed to the States, and they are, to a degree, restrictions of
State power. It is these which Congress is empowered to enforce, and to enforce against State action, however
put forth, whether that action be executive, legislative, or judicial”). Judge Dugan returns to the Tenth
Amendment in part II.B below.


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              1. Lack of Opportunity for Application does not Undermine Acceptance.

              The problem, then, is not that Judge Dugan can point to only four centuries

of decisions expressly recognizing judicial immunity from criminal prosecution for official

acts. The problem is that the magistrate judge and the government cannot point to a single

decision denying judicial immunity from criminal prosecution for official acts, outside the

conceded exception for statutes enacted pursuant to the Reconstruction Amendments.

              The fact that the Supreme Court necessarily has referred to that criminal

immunity in dicta, because the cases before it unsurprisingly were civil, does not erode the

recognition of criminal immunity. Consider the obvious. In civil cases, there would be no

reason to mention criminal immunity at all if it was not extant and alive. Continued

recognition of judicial immunity from indictment for official acts acknowledges the origins

and ongoing vitality of that application of judicial immunity. It does not proclaim absence

or suggest that we await emergence of criminal immunity.

              No, the opposite. Criminal immunity has been around longer than civil.

Putting aside fair questions about the exact scope of that civil immunity, the temptation to

extend criminal immunity to civil immunity for judges’ official acts was understandable

because attempted civil litigation against judges has proliferated since the nineteenth

century. Yet the reasons for judicial immunity are stronger, if anything, in its original

criminal application: the risk that a judge will be arrested, shackled, and jailed for carrying

out the duties of his or her office, and the in terrorem effect that necessarily would have on

that judge and others, is a much greater threat to the judicial task and role than civil cases.




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              Floyd identified several reasons supporting judicial immunity. Floyd, 12 Co.

Rep. at 24-25. In modern parlance, those were finality; maintaining the dignity of, and

respect for, courts; and preventing harassment of judges by litigation. Nancy Amoury

Combs, Redressing Judicial Misbehavior: An Integrated Approach to Judicial Immunity, 58 U.C.

DAVIS L. REV. 1165, 1188 (2024), citing Floyd, 77 Eng. Rep. at 1307. Another rationale emerged

later: judicial independence. Combs, Redressing Judicial Misbehavior, 58 U.C. DAVIS L. REV. at

1190-92; see also Yates, 5 Johns. at 291. That one has become preeminent. Criminal immunity

fits better with that top concern than civil immunity, too, given the loss of liberty and

reputation that criminal prosecutions alone threaten.

              Like the England of Lord Coke, the modern United States has rival courts, an

unavoidable aspect of federalism. Criminal immunity not only prevents a judge from being

walked handcuffed into a rival court; unlike civil immunity, it also protects judicial

independence from the executive branch. A disappointed litigant can file a lawsuit, but the

executive branch can search, arrest, and jail. Those powers endanger judicial independence

much more than a civil litigant ever could.

              Beyond that, in civil cases, judges and other state actors are unlikely to carry

their own defense costs: practically, either state Attorney General’s offices or local city

attorneys or county corporation counsel usually defend. When there are civil judgments

against police officers and other law enforcement actors who have only qualified immunity,

these actors are entirely or mostly indemnified more than 99% of the time. See Joanna C.

Schwartz, Police Indemnification, 89 N.YU. L. REV. 885, 912–17 (2014). More, even when a

judgment includes punitive damages, the officers themselves almost never pay any part of




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that. Schwartz, Police Indemnification at 917-18. There is no reason to think judges would be

different. At worst, civil liability would be an insurable risk for judges (or for the states that

employ them), altogether unlike criminal prosecution. One cannot shift to an insurer the

loss of liberty, or stigma and lost civil liberties as a convicted felon. Even as to finality,

criminal prosecutions are clumsy ways to review the propriety of a judge’s official acts, and

often may not avoid an appeal or collateral attack by parties to the underlying case anyway.

                 Yet it is civil immunity for judges that has grown most—and came latest. The

rationales for judicial immunity might have suggested just the opposite. Still, criminal

immunity has remained largely fixed where it was in the nineteenth century, other than

where legislation under the Reconstruction Amendments, current 18 U.S.C. §§ 241, 242, has

curtailed rather than expanded it.

                 It is true, then, that the Supreme Court never yet has had occasion to apply

judicial immunity from criminal prosecution for official acts outside the context of violating

rights assured under the Reconstruction Amendments. But that is not because judicial

immunity from prosecution for official acts rightly is in question. It has not been in question

since the foundational English case in 1607. That likely is because the Justice Department

under only one president in United States history has sought to prosecute state judges for

official conduct anything like that alleged here.5




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  The 2019 federal indictment of a Massachusetts state judge, Shelley Richmond Joseph, is the only case with
remotely similar facts that Judge Dugan, the government, or the magistrate judge have found. At least on the
research of the parties and the magistrate judge, every other federal prosecution of a judge since the founding
has arisen from palpable graft, coercive sexual gratification, or other conduct wholly unrelated to judging,
again outside the setting of individual constitutional rights protected by the Reconstruction Amendments.


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              A paucity of opportunities to apply judicial immunity to criminal prosecution

for official acts is not empirical evidence that the law withholds that immunity, then.

Instead, it is a reminder that the law so long has extended immunity to official acts untainted

by graft or self-gratification that federal prosecutors rarely have been reckless enough to

attempt such a prosecution.

              Fundamentally, the magistrate judge is wrong in asserting that while “Lord

Coke’s pronouncements have taken root in American common law regarding judicial

immunity in civil cases, the same cannot be said regarding criminal prosecutions.” Report

& Recommendation at 16 (italics in original). Civil immunity has taken root, that much is

right; but criminal immunity for a judge’s official acts is the very soil in which that civil

immunity is rooted. We are not awaiting the Supreme Court’s extension or expansion of

civil immunity to criminal immunity. Contra Report & Recommendation at 36; see also id. at

26. Civil immunity is itself the extension and expansion.

              2. The Exception for Official Acts Violating Statutes Enacted Pursuant To The
                 Reconstruction Amendments Proves the General Rule.

              All parties recognize that Congress does have the power to abrogate judicial

immunity pursuant to the enforcement clauses of the Thirteenth, Fourteenth, and

Fifteenth Amendments. See O’Shea v. Littleton, 414 U.S. 488, 503 (1974) (denying injunctive

relief and observing, “Judges who would willfully discriminate on the ground of race or

otherwise would willfully deprive the citizen of his constitutional rights, as this

complaint alleges, must take account of 18 U.S.C. § 242”); Imbler v. Pachtman, 424 U.S. 409,

428–29 (1976) (recognizing civil immunity but observing, “Even judges, cloaked with

absolute civil immunity for centuries, could be punished criminally for willful


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deprivations of constitutional rights on the strength of 18 U.S.C. § 242, [ ] the criminal

analog of § 1983”) (note omitted).

              That exception proves the rule. The Reconstruction Amendments changed

the constitutional order and gave Congress power to criminalize official state conduct

that would have been unthinkable to the founders; unthinkable as a civil war itself.

              And this new, extraordinary power was limited to statutes enacted

pursuant to the Reconstruction Amendments, such as 18 U.S.C. § 242. As to ordinary

criminal statutes like those at issue here enacted under Article I powers that remain

unamended since the framing, Congress lacks any comparable power to criminalize the

official acts of state officials, judges included. The distinction not only reflects our

national history in which official acts in some states were abused to deny civil rights, but

is critical to protecting individual liberty. It is one thing to empower federal prosecutors

to ensure that state officials do not deny rights guaranteed to the People. It is quite

another thing to empower federal prosecutors to arrest and prosecute state judges who

do not stand accused of violating anyone’s civil rights, but of interfering with federal law

enforcement priorities. The latter is far more threatening to the federal-state balance and

not within scope of the Reconstruction Amendments.

              Although both the Court and the parties must take Ex Parte Virginia, 100

U.S. 339 (1880), on its own terms, the case would have been better framed as a recognition

of congressional power under the Reconstruction Amendments to enact new federal

crimes and apply them to state judges who violate the individual rights that those

amendments protect. There, a state judge faced federal prosecution for excluding Black




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prospective jurors. On a pretrial petition for a writ of habeas corpus, he raised a judicial

immunity bar, arguing that “Congress cannot punish a State judge for his official acts.”

Ex Parte Virginia, 100 U.S. at 348. The Court disagreed, because of the Fourteenth

Amendment. Id. at 349. Even beyond that, the judge’s act was “outside of his authority

and in direct violation of the spirit of the State statute.” Id. The exclusion of Black jurors

simply because they were Black “was not left within the limits of his discretion” under

state law. Id.

                 The Court in effect ducked the judicial immunity challenge by holding that

the judge’s acts were “ministerial,” not judicial acts at all. Id. at 348. It ducked again in

holding that not even state law permitted the judge to exclude Black jurors.6 Here, the

magistrate judge misreads Ex Parte Virginia. The Court did not, as she says, hold that,

“even if the act was judicial, the judge had no authority to select jurors in violation of the

Constitution.” Report & Recommendation at 14. It could have, but did not. Rather, it held

that state law gave the judge no authority to exclude Black jurors, which underscored the

conclusion that his acts were not judicial at all.

                 So the case, on its holding, goes squarely into the category of unofficial acts,

for which judges have no criminal immunity. It would have fit better in the category of

official acts that violate individual rights under the Fourteenth Amendment, and thus do

not enjoy criminal immunity even though official. In any event, the Court allowed the




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   Of course it is chancy and maybe nearly idle to second-guess a 145-year old decision with wispy reasoning;
understood. But that said, Ex Parte Virginia was a U.S. Supreme Court decision directly concerning a state judge
charged with a federal crime for the way in which he selected jurors and jury pools. It would have been easy
enough for the Court just to say there is no criminal judicial immunity, ever, if the Report & Recommendation
is right. That would have ended Ex Parte Virginia, were it so.


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judge’s prosecution to go forward under a post-Reconstruction statute that rested on the

enforcement clause of the Fourteenth Amendment for its legitimacy. Ex Parte Virginia,

100 U.S. at 349.

              That leaves all other official acts. They continue to fall within judicial

immunity, including in criminal cases, as they long have. Again, the magistrate judge has

the relationship between criminal and civil judicial immunity backwards.

              3. There is No Serious Line-Drawing Problem Between Genuinely Official Acts
                 and Unofficial Acts that Exploit a Judicial Office.

                     a. Unofficial Acts Cases.

                     Recognizing judicial immunity for official acts poses no threat to

federal criminal prosecutions targeting graft or sexual misconduct. Indeed, federal

prosecutions of sitting members of Congress for such conduct have peacefully co-existed

with the Speech or Debate Clause. Sexual misconduct or privately distributing child

pornography are as unofficial as they get, and it is well-established that bribery can be

prosecuted by targeting the corrupt promise rather than the official act of casting a vote.

See, e.g., United States v. Brewster, 408 U.S. 501, 526 (1972) (prosecution of former U.S.

Senator; taking a bribe not a legislative act).

                     The largest set of those unofficial acts cases is easy and obvious: there

is no immunity for murder, sexual assault, distributing child pornography through a

messaging app, tax evasion, drunk driving and so on, no matter if a judge does it. See

Defendant’s Memorandum at 11-14 (Dkt. 21); Defendant’s Reply Memorandum at 2-3, 8-

10 (Dkt. 28). For an additional colorful Wisconsin case that Judge Dugan did not

previously cite, see United States v. Raineri, 670 F.2d 702 (7th Cir. 1982) (Iron County judge


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prosecuted for a variety of federal crimes in connection with running a prostitution ring

through a Hurley strip bar in which he had extensive involvement); and see Archie v.

Lanier, 95 F.3d 438, 441 (6th Cir. 1996) (denying civil immunity claim because stalking and

sexual assault never are judicial acts).

                          For that matter, when someone who currently is a federal judge

commits perjury in a grand jury investigation of crimes before he was a judge, or chooses

to sit privately for an FBI interview about that earlier activity and lies, these are unofficial

acts entirely. Nothing about being a grand jury witness or a voluntary participant in an

FBI interview has any connection to a judicial role. That was the sad coda to Otto Kerner,

Jr.’s career. See United States v. Isaacs, 493 F.2d 1124, 1132–44 (7th Cir. 1974) (per curiam

with one judge dissenting in part and concurring in part and one judge dissenting).7

                          Unofficial acts cases provide a good reminder. The term “absolute

immunity” is potentially misleading, in a judicial context or any other. Judge Dugan has

acknowledged from the start that unofficial acts get no immunity from prosecution.

                          There is a subcategory of these cases in which judges faced

prosecution for unofficial acts, but in which judicial acts were connected to the wholly

unofficial and criminal. These are most of the graft cases collectively, and the few sexual

assault cases where a judge used his judicial status as a means of coercion or intimidation.



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  Notably, most of those unofficial act cases offer no indication that the defendant-judge even sought to raise a
judicial immunity bar or argument. Perhaps its inapplicability was as obvious to their lawyers and them as it
is to Judge Dugan and her lawyers. One partial exception is Isaacs. But even there, Judge Kerner argued only
that judicial immunity barred his prosecution until after impeachment. Isaacs, 493 F.2d at 1140-44. His indicted
conduct was wholly unofficial—indeed, some of it preceded his time as a judge—and the court correctly
rejected that limited immunity argument. Just for the sake of completeness, note that the Seventh Circuit later
overruled Isaacs on unrelated grounds, after the demise of the intangible rights theory of fraud. United States v.
Gimbel, 830 F.2d 621, 626 (7th Cir. 1987).


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To be clear, these cases all are in the category of unofficial acts and rightly so. That is

where Judge Dugan has grouped them from the outset, see again Defendant’s

Memorandum at 11-14; Defendant’s Reply Memorandum at 2-3, although in her opening

brief she broke out this subset as a third bullet point.

                     In all of them, the promised or actual judicial act was connected but

adjunct. Every time, some linked judicial act was held out as an inducement for a bribe

or kickback, or as a threat by which to extort either money or the pretense of consent

(acquiescence, not true consent) to a sexual encounter. And in each of those cases, graft

or sexual imposition that was the gravamen of the prosecution. The indictments alleged

graft or coercion as their centerpiece. It was bribery, extortion, kickbacks, or assault that

the indictments charged, not judicial acts alone or in their own right.

                     Take United States v. Claiborne, 727 F.2d 842 (9th Cir. 1984) (per

curiam), where a federal judge solicited and accepted a $30,000 bribe from a Nevada

brothel owner to rule favorably on motions in a pending case. Judge Dugan still thinks

this case the closest one reported, although the magistrate judge disagrees. Report &

Recommendation at 22-23. But Judge Dugan agrees with the magistrate judge that Harry

Claiborne had no immunity from prosecution. The dispute with the magistrate judge

comes down to the gravamen of the charged crimes: whether the indicted acts were

official and still got no criminal immunity, as the magistrate judge contends, or they were

unofficial acts leveraging a promise of judicial acts, as Judge Dugan sees them.

                     In Claiborne, the government did not accuse the judge of crimes for

how he handled, or intended to handle, motions and pending cases. It did not challenge




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the correctness of his judicial or official acts. No, it indicted him for soliciting a bribe,

scheming to defraud a brothel owner, obstructing justice by urging a witness to give false

testimony before a grand jury, failing to report the bribes on his income tax returns, and

failing to disclose a loan on his financial disclosure form. Claiborne, 727 F.2d at 843 & 843

n.1. All of that plainly was unofficial conduct. The expected disposition of motions was

but the quid pro quo allegation that 18 U.S.C. § 201(b)(2) requires for bribery, and nothing

more. That is, the indictment claimed that Judge Claiborne sold his office, even if the

handling of motions after taking a bribe would have been in form a judicial act. Compare

Brewster, 408 U.S. at 526 (again, taking a bribe for a later vote is not a legislative act and

gets no immunity).

                          The gravamen of the charges against Harry Claiborne did not

concern his judicial acts, then; it concerned wholly unofficial conduct, like seeking and

taking bribes, cheating on income taxes, suborning perjury, scheming to defraud a person

of money, and failing to disclose a loan on a form. All of that the indictment alleged.

Judge Claiborne mimicked Judge Kerner before him in asserting only that judicial

immunity barred his prosecution until after his removal from office by impeachment.

Claiborne, 727 F.2d at 843-44.8 Given the unofficial acts that were the real subject of the

indictment, the Ninth Circuit properly rejected that limited immunity claim.

                          The “Kids for Cash” case that Judge Dugan raised and the Report &

Recommendation discusses at pages 20–22 and 27 is the same for these purposes. There


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  The subsequent history of that case, which was an interlocutory appeal on the limited immunity argument,
is interesting. After a first jury deadlocked, the government elected to dismiss the four bribery counts. A second
jury then acquitted Claiborne of the failure to disclose the loan, but convicted him on the two tax counts. The
Ninth Circuit affirmed the convictions. United States v. Claiborne, 765 F.2d 784 (9th Cir. 1985).


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again, the eventual indictment did not seek to punish those two Pennsylvania state judges

for sentencing juveniles to detention or for any other judicial act. It sought to punish them

for racketeering: a whole pattern of corrupt self-enrichment that exploited their judicial

acts but as to which those acts themselves were not the gravamen of the crimes. The

judicial acts were but the lever or means by which the judges extracted kickbacks and

enriched themselves illicitly.

                     Contrary to the magistrate judge’s view, then, those judges did not

face criminal liability for “clearly judicial acts.” Report & Recommendation at 22. They

faced criminal liability for a scheme of graft and racketeering that linked and exploited

their judicial acts as means of committing the broader crimes. The essence of the

indictment there was entirely unofficial conduct, as to which official acts were but the

inducement or predicate for the crimes.

                     In a sense, that case anticipated Justice Amy Coney Barrett’s

concerns in her partial concurrence in Trump v. United States, 603 U.S. 593 (2024). Justice

Barrett did not join the majority’s conclusion that a president’s official acts cannot even

be used as evidence in prosecuting him for unofficial acts. Trump, 603 U.S. at 650-57

(Barrett, J., concurring in part). Relevant here, she wrote:

                     The Constitution, of course, does not authorize a President to
                     seek or accept bribes, so the Government may prosecute him
                     if he does so. [ ] Yet excluding from trial any mention of the
                     official act connected to the bribe would hamstring the
                     prosecution. To make sense of charges alleging a quid pro quo,
                     the jury must be allowed to hear about both the quid and
                     the quo, even if the quo, standing alone, could not be a basis
                     for the President’s criminal liability.




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Trump, 603 U.S. at 655-56 (Barrett, J., concurring in part), citing Art. II, §4 (listing

“Bribery” as an impeachable offense), and the Memorandum from L. Silberman, Deputy

Atty. Gen., to R. Burress, Office of the President, Re: Conflict of Interest Problems Arising

Out of the President’s Nomination of Nelson A. Rockefeller To Be Vice President Under

the Twenty-Fifth Amendment to the Constitution 5 (Aug. 28, 1974) (suggesting that the

federal bribery statute applies to the President).

                     The jury in the “Kids for Cash” case logically did hear, and rightly

should have heard, testimony about sentences to detention and efforts to bully probation

agents. That evidence did not make official acts the essence of the prosecution; it only

helped prove the clearly unofficial graft. In the same way, Justice Barrett agreed that a

president cannot be prosecuted for, say, granting a pardon, even corruptly. That is an

official act, regardless of motive. But she was right: he could be prosecuted for taking a

bribe. And if the bribe related to the official act of a pardon, in her view a jury properly

could hear evidence of the pardon in deciding the bribery charge.

                     The same is true as to judges tried for wholly unofficial acts like graft

or coerced sex. The indictment can include, and the jury can hear, the collateral official

acts. But it is not asked to convict, and cannot be, for those official acts. It is asked to

convict on the unofficial acts that the official acts were used to induce or procure.

                     In the end, the magistrate judge misunderstands the “Kids for Cash”

case and others like it involving graft. The “Kids for Cash” case indeed may be an

example of how the Supreme Court and lower federal courts have over-extended civil




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judicial immunity. But that case does not establish, or fairly suggest, that the original

criminal judicial immunity from which civil immunity grew does not exist.

                         b. This Case.

                         This case stands in sharp contrast to the unofficial acts cases, both

those that had no connection at all to a judge’s official role and those that did. Here, the

government offers nothing in the indictment other than official acts. On this narrow

point, the magistrate judge is exactly right: once more, everything the indictment alleges

here was an official act, or as the magistrate judge puts it, “all part of a judge’s job.”

Report & Recommendation at 30.

                         This indictment does not claim, or even hint at, bribe-seeking,

extortion, kickbacks, theft, or graft of any kind. It does not describe any such acts. In fact,

it includes nothing suggesting self-interest at all; no act beyond the official.

                         So when the magistrate judge then moves on more broadly just a

paragraph later to assert that, “At bottom, the indictment does not charge Dugan for

‘opining on the fly,’ managing her courtroom, or allowing someone to appear by Zoom

for future hearings,” Report & Recommendation at 30, she is flatly wrong. That quite

literally is what this indictment does charge in Count 2, the felony charge. See Indictment

(Dkt. 6), Count 2.9

                         More importantly, it is all that the indictment charges as to acts.

These are judicial acts, official acts, and they may not be prosecuted as crimes. The acts

themselves are immune, because they are official judicial acts and no more. There is no


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 Count 1, the misdemeanor, does not offer even that much. It claims only concealment of E.F.R., and alleges
no specific acts at all.


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allegation of a crooked quid pro quo or other illegal act. The official acts are the gravamen,

indeed the whole, of this indictment. That sets this case apart from all unofficial acts cases.

                      And it is why the indictment’s rote inclusion of the statutory mens

rea element, “corruptly,” does not salvage it, despite the magistrate judge’s view. See

Report & Recommendation at 29, 30. Judge Dugan is immune from prosecution for these

official acts. As to that reality of an immunity bar, judicial immunity is no different than

the presidential immunity that arose from earlier judicial immunity cases: there can be

no inquiry into motives, if the acts themselves are official and immune. The prosecution

is barred at the outset. See Trump, 603 U.S. at 618.

                      There is no serious line-drawing problem, then, between the official

and the unofficial. That means there also is no line-drawing problem as to judicial

immunity and lack of judicial immunity, because it is easy enough to discern when an

indictment alleges that official acts violated constitutional rights that the Thirteenth,

Fourteenth, or Fifteenth Amendments assure. The magistrate judge’s parade of

horribles—“must Congress comb through every federal criminal statute to indicate

which statutes apply to judges and which do not?,” Report & Recommendation at 14—is

easily ended. The answer is no: all federal crimes apply to the unofficial acts of judges,

and none of them apply to a judge’s official acts unless those official acts fall within 18

U.S.C. §§ 241 or 242 because they violate the Reconstruction Amendments.

                      This indictment does not concern any right that the Thirteenth,

Fourteenth, or Fifteenth Amendments protect. It does not concern any individual right,

period. Rather, it is limited to official acts affecting federal executive policies.




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                     Even the law review article that the magistrate judge thrice cites,

Report & Recommendation at 4, 5, 17, supports immunity from prosecution here,

notwithstanding its pinched view of criminal immunity for judges generally. See Jeffrey

M. Shaman, Judicial Immunity from Civil and Criminal Liability, 27 SAN DIEGO L. REV. 1, 18

(1990) (“The one area where judges can be said to enjoy immunity from criminal liability

is for malfeasance or misfeasance in the performance of judicial tasks undertaken in good

faith”). The indictment here charges nothing but the performance of judicial tasks, and

other than bare repetition of the statutory mental elements of “corruptly” and

“knowingly” offers nothing to suggest bad faith. For that matter, a bar like immunity

operates at the outset to foreclose factual inquiry into motives and good or bad faith

assessments. Anyway, it is not clear from the indictment that the alleged acts even would

rise to the level of misfeasance, let alone malfeasance.

              In all, Judge Dugan has judicial immunity from prosecution on both counts

of this indictment. The magistrate judge is mistaken.

       B. The Tenth Amendment.

       The Report & Recommendation also missed the importance of the Tenth

Amendment here. Until the Reconstruction Amendments and their separate enforcement

clauses, Congress had no power to abrogate judicial immunity as to federal prosecutions of

state officials who acted under color of state law, including judges. The Reconstruction

Amendment enforcement clauses changed that; they ceded new power to Congress. But

when Congress passes criminal laws pursuant to its ordinary Article I powers, it enjoys no

comparable extraordinary power to punish criminally the official acts of state judges or




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officials. This case involves only statutes passed pursuant to Congress’ Article I powers, and

there is no indication that Congress imagined it was reaching official judicial acts, let alone

trying to abrogate immunity for those acts.

        Again, this case does not concern an alleged violation of any right that the Thirteenth,

Fourteenth, or Fifteenth Amendments protect. It is outside the ambit of Congress’ powers

under those amendments. So, Judge Dugan necessarily returns to the Tenth Amendment.

        Just as its structure implies a horizontal separation of powers, the Constitution’s

structure also establishes a vertical separation of powers.10 Federal law is supreme in its

allocated realm. U.S. CONST. art. VI, cl. 2. There, it tops any state law to the contrary. But its

realm is limited and explicitly demarcated. The states—or the people at base—retain all

powers not allocated expressly to the federal government. No sovereign, neither federal nor

the many states, is subordinate to another. Yet the federal and state governments are

separated vertically, so to speak, with each bound to respect the other’s realm.

        The Tenth Amendment is the most explicit assertion of this vertical separation of

powers. It reads in full:

        The powers not delegated to the United States by the Constitution, nor
        prohibited by it to the States, are reserved to the States respectively, or to the
        people.

U.S. CONST. amend. X.




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  While still at the University of Wisconsin Law School, Professor Victoria Nourse was first to make popular
use of this term in a context broader than, but including, the one Judge Dugan describes here. See Victoria
Nourse, The Vertical Separation of Powers, 49 DUKE L.J. 749 (1999). Nourse borrowed the term from Justice
Kennedy. See Clinton v. City of New York, 524 U.S. 417, 452 (1998) (Kennedy, J., concurring); Nourse, Vertical
Separation of Powers, 49 DUKE L.J. at 751 n. 10.


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       Specifically, the Constitution’s vertical separation of powers means the Court now

must assess whether the federal government, through its executive branch, has lawful

power to exact criminal punishment from Judge Dugan for doing in and near her courtroom

as the indictment contends. This is the core question here under the Tenth Amendment.

       That is, has the federal government constitutional power to command a state

government officer not to do as it alleges Judge Dugan did in the discharge of her official

duties under state law? To tell her, no, you cannot muse that a judicial warrant is necessary

to arrest someone in your state courthouse; no, you cannot send federal agents down the

hall to confer with the chief judge; no, you cannot handle a routine court appearance off the

record and while some agents are not directly outside your courtroom in the hallway; no,

you cannot usher a person out a second door so that he re-enters the same hallway a few

feet from the doors agents expected him to use; and no, you cannot allow a party in a

pending case to make future court appearances by Zoom? More, can the federal government

insist that a state judge answer federal criminal charges if she does any or all of those things?

       It cannot. The federal government does not count this power among those delegated

to it under the Constitution. While a state judge is bound by federal law in deciding cases,

Testa v. Katt, 330 U.S. 386, 392–94 (1947), the issues here are not about properly honoring

federal law when state law conflicts with it. The Supremacy Clause and the Tenth

Amendment are part of the same Constitution. A federal assertion of power that offends the

Tenth Amendment enjoys no supremacy.

       Nothing in the Constitution allows the federal government to superintend the

administration and case-by-case, daily functioning of state courts as this indictment




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proposes. Even less has the federal government the power to supersede the judgment of

state judges in and near their courtrooms, on prosaic matters like the indictment alleges.

State law provides and controls that power.

       Consider the brief opinion in Page Co. v. MacDonald, 261 U.S. 446 (1923). There a

resident of Ontario, Canada, brought suit against a corporation in Massachusetts state court.

The corporation then sued her in federal court in Massachusetts, claiming that her state

action was libelous. The corporation served her with the federal summons and complaint

while she was attending the state court case. She pleaded in abatement, alleging statutory

immunity from service while attending a court proceeding.

       The Supreme Court sustained her claim of immunity from service of process under

those circumstances. That immunity was founded on “the necessities of the judicial

administration,” and both federal and state courts have equal interest in those necessities.

Page Co., 261 U.S. at 448. The federal government could not claim that its judicial

administration interests overrode the state’s judicial administration interests in its own

courts. In effect, that is exactly what the federal executive branch claims here.

       And this indictment arises in the context of ordinary state judicial and criminal

enforcement proceedings. Empirically, almost all criminal cases are in state courts in this

country, under state law. That is a natural consequence of the fact that the states retain the

general police power: they did not delegate that power to the federal government, although

valid federal powers sometimes may produce similar results. Hamilton v. Kentucky

Distilleries & Warehouse Co., 251 U.S. 146, 156 (1919) (Brandeis, J.); see also Berman v. Parker,

348 U.S. 26, 32 (1954) (explaining breadth of “police power”).




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       This case, involving the routine work of a state court and judge, is quite unlike the

peculiar power of the federal government to control adoption of Indian children in state

courts through the Indian Child Welfare Act, even though marriage, adoption, and

domestic relations generally are reserved to states. See Haaland v. Brackeen, 599 U.S. 255, 272–

91 (2023) (ICWA does not violate anti-commandeering doctrine of Tenth Amendment

because of Congress’s express, plenary authority under Article I, § 1 to legislate with respect

to Indian tribes; rejecting Tenth Amendment arguments in the specific context of adoption

of Indian children). The federal government has no similar grant of authority here that

would give it the control that this indictment asserts.

       Judge Dugan instead had that authority and control. She is a duly elected Wisconsin

state judge, WIS. CONST. art. VII, § 7, and here was performing duties that both Wisconsin

law and her chief judge assigned. WIS. STAT. §§ 753.03, 757.01, WIS. SCR 70.19(3)(a). The state

has a comprehensive system for correcting errors on direct appeal or by writ. WIS. STAT. chs.

808, 809. It has a code of judicial ethics. WIS. SCR Ch. 60. It has a rule giving judges control

over courthouse security. WIS. SCR 68.04. It has an established judicial disciplinary body,

the Judicial Commission. That Commission has the power to enforce ethical requirements.

WIS. CONST. art VII, § 11; WIS. STAT. § 757.83; WIS. ADMIN. CODE §§ JC 1 through JC 6. The

judicial disciplinary process under state law extends to the conduct alleged in this

indictment. WIS. SCR 60.02, 60.03; WIS. ADMIN. CODE § JC 3.07.11 And Wisconsin allows

removal of judges by impeachment, recall, or address. WIS. CONST. art. VII, §§ 1, 11, 13.




 The Wisconsin Supreme Court already has invoked its disciplinary power by suspending Judge
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Dugan during the pendency of this case.


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       All of these means of filling the state judiciary, overseeing it, and disciplining it are

squarely within the powers that states retain under the U.S. Constitution. The states

delegated the federal government no power to interfere with or replace state power—and

state law—as to any of these functions. For that matter, again, Congress never has claimed

that it was exercising any such claimed power in enacting the two statutes at issue here.

       This case fits the reasoning of Gregory v. Ashcroft, 501 U.S. 452 (1991), then. There, the

Supreme Court held that, in the absence of a plain statement by Congress, the Court would

not apply the ADEA to state court judges because it was “at least ambiguous whether

Congress intended that appointed judges . . . be included” in that federal age discrimination

law. Gregory, 501 U.S. at 470. Without a plain statement of congressional intent, Gregory

relied on the long line of cases recognizing “the authority of the people of the States to

determine the qualifications of their most important government officials.” Id. at 463. That

authority lies at the heart of representative government, Gregory noted, and “is a power

reserved to the States under the Tenth Amendment.” Id.

       C. Constitutional Avoidance.

       The indictment’s reference to the unusual mental element of the crime charged in

Count 2, “corruptly,” and its mention of a “proceeding” both leave ambiguity. The

magistrate judge herself implicitly acknowledges the ambiguity as to the mens rea element

of Count 2: she proposes that a jury can decide whether Judge Dugan acted corruptly or

“was merely performing her judicial duties.” Report & Recommendation at 32. Again

implicitly in the magistrate judge’s view, Judge Dugan would be guilty if the former, but

not guilty if the latter. Yet the magistrate judge offers no explanation of how a jury would




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distinguish those two things or what “corruptly” might mean here. The term

“proceeding” also remains wholly undefined, even by alleged example, and the

government has been coy about what “proceeding” it claims was at issue. See

Government Response at 23-24 (Dkt. 25). In both places, the canon of constitutional

avoidance would have a proper role in resolving the ambiguity.

       Indeed, just last year, the Supreme Court rejected an effort by federal prosecutors

to expand criminal activity by invoking a vague definition of corruptly and leaving it to

the jury to sort out later whether a particular arrangement was corrupt. In Snyder v. United

States, 603 U.S. 1 (2024), the Supreme Court limited 18 U.S.C. § 666 to true quid pro quo

bribery and rejected the government’s effort to extend the statute to corrupt or wrongful

gratuities for past official acts. The Court faulted the government for failing to present a

workable definition of “corruptly,” Snyder, 603 U.S. at 15-16, and underscored that, for a

statute that applies to countless state and local officials, the government needs to give

more clear notice of what conduct was criminal. Id. at 15-16.

       The same logic applies here. No one alleges that Judge Dugan’s conduct was

wrong or corrupt in the sense of quid pro quo corruption. An effort to extend the statutes

here—which have endless applications that do not implicate judicial conduct—to official

judicial actions with no more clarity or protection than a jury instruction on “corruptly”

cannot help but affect judicial actions adversely and upset the state-federal balance.

       Moreover, as the Supreme Court underscored in Snyder, courts cannot construe

criminal statutes on the assumption that federal prosecutors will employ their




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prosecutorial discretion responsibly and focus on the most serious cases. See id. at 17.

They do not always do that, as this case proves.

       If the Court cannot avoid the constitutional issues and the bar to prosecution that

Judge Dugan asserts, then concededly there is no role for this canon. Dismissal on either

judicial immunity or Tenth Amendment grounds would moot the doctrine of

constitutional avoidance. Judge Dugan otherwise stands on her earlier briefing. See

Defendant’s Memorandum at 33-35 (Dkt. 21); Defendant’s Reply at 13-14 (Dkt. 28).


                                              III.

                                         CONCLUSION


       The federal government has no right or power to prosecute a state judge for the five

acts or decisions that this indictment alleges. It never has. The issue at bottom is not that the

Supreme Court never clearly has extended immunity for official judicial acts to criminal

prosecution. That Court repeatedly has recognized and endorsed common law judicial

immunity from criminal prosecution for official acts, outside individual rights under the

Reconstruction Amendments. Indeed, the Supreme Court has extended criminal immunity

to civil immunity as well.

       Neither count in this indictment can stand. Both are barred by judicial immunity

today, just as at this nation’s founding. The Tenth Amendment confirms that.

       Dated at Madison, Wisconsin, July 15, 2025.




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                                                 Respectfully submitted,

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